Case 2:O4-cV-O2398-.]P|\/|-de Document 22 Filed 07/27/05 Page 1 of 2 Page|D 38

also eY _uE§,/... D-C-
IN TI-IE. UNITED STATES DISTRICT COURT -

FOR THE WESTERN DISTRICT OF TENNESSEE :
WESTERN DIVISION 05 JUL 27 hH m 210

 

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U.EF§( U.S. UTR!CY CO[BT

TORY LAMONT SHAW, JR., a minor w@O§NjMMHE

)
by next friend, and guardian, )
KENSHIA JEFFERSON, )

)
Plaintiff, )

)

v. ) No. 04-2398 Ml/v

)
LA PETITE ACADEMY’, INC., )
)
)

Defendant.

 

ORDER GRANTING PLAINTIFF’S MOTION TO AMEN'D SCHEDULING ORDER AN'D
FOR CONTINUANCE

 

Before the Court is Plaintiff’s motion to amend the
scheduling order and for continuance, filed July 21, 2005. Good
cause having been shown, the Court GRANTS the motion. Pursuant
to the Local Rules of Court, the matter of rescheduling is
referred to the United States Magistrate Judge for review and

entry of a new scheduling order.

So ORDERED this éibth day of July, 2005.

a m‘OM

JO P. MCCALLA
TED STATES DISTRICT JUDGE

 

Thts document entered on the docket heat in compfi nce
with Ru|e 58 and/or 79(a) FRCP on 2 32 2 QSS

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Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 2:04-CV-02398 Was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed.

 

 

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Honorable .1 on McCalla
US DISTRICT COURT

